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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                      MDL NO. 2924
   PRODUCTS LIABILITY                                                               20-MD-2924
   LITIGATION
                                                       JUDGE ROBIN L. ROSENBERG
                                             MAGISTRATE JUDGE BRUCE E. REINHART

   _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                   PRETRIAL ORDER # 22
                     Order Establishing the Defense Leadership Structure,
               Appointing Leadership Members and Designating Leadership Duties
                                     and Responsibilities

          In PTO #20, the Court appointed Plaintiffs’ leadership counsel. In PTO #21, the Court

   directed defense counsel interested in serving as defense leadership to submit their applications

   to the Court. The Court, having reviewed all of the submissions by counsel, including all

   applications for leadership positions and all disclosures submitted pursuant to PTO #21, issues

   this Order to, among other things, (1) establish the Defendants’ leadership structure; (2) designate

   the defense leadership’s duties and responsibilities; and (3) appoint the defense leadership

   members.

   I.     DEFENSE LEADERSHIP

          The Court is grateful to all counsel who had the interest in and took the time to apply for

   leadership positions through their written submissions and also to those counsel who have served

   in an interim capacity.

          As the Court noted in PTO #21, the Defendants indicated at the Initial Status Conference

   that they had reached a consensus on the proposed leadership structure; this proposed structure

   would mirror the structure the Court created on an interim basis. See PTO #10 and 17. The
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   Court additionally directed the Defendants to consider what mechanisms would best facilitate a

   leadership team that includes both seasoned counsel and energetic attorneys with new ideas.

           The Defendants have submitted a consensus slate to the Court, in which the four existing

   interim co-leads continue in their roles, and the three existing liaisons maintain their roles in

   representing the generic manufacturer Defendants and the retailer Defendants.

           The brand manufacturer Defendants have also proposed the creation of a Defense

   Steering Committee. The Court recognizes that the development challenges on the defense side

   are different than those on the Plaintiffs’ side. For example, while defense firms often have

   mentoring programs for younger counsel that enable them to do work within an MDL, there may

   be difficulty later in one’s career in obtaining the opportunities necessary to move into a lead

   counsel role in an MDL. The Court recognizes that the addition of a Steering Committee may

   be helpful in allowing these already very experienced counsel to more clearly showcase their

   skills and talents.

           The brand manufacturer Defendants have also proposed a Defense Leadership

   Development Committee to provide an opportunity for additional lawyers who have been

   actively participating in the MDL to be recognized for their valuable work and to give them

   insight into the leadership of an MDL—paralleling the structure established for the Plaintiffs in

   PTO #20.

           The disclosures submitted by the leadership applicants provided the Court with the

   necessary added assurance that the applicants did not have any conflicts that would compromise

   their ability to carry out the important role of serving in a leadership role in this litigation. The

   Court did not seek to supersede the judgment of their respective clients as to conflicts, but instead

   to ensure that there were no undisclosed issues that might raise questions about the ability of


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   these counsel to serve the interests of all Defendants as part of a leadership team—particularly

   those appointed to liaison roles. It was in anticipation of this somewhat unique defense leadership

   structure that the Court requested these disclosures to further the goal of instilling transparency

   in the overall process of managing this MDL and, thereby, promote confidence in the attorneys

   selected to act on behalf of the many Defendants. The Court found no issues involving any actual

   or perceived conflicts from the disclosures.

   II.    DEFENSE LEADERSHIP STRUCTURE

          The Court puts the following leadership structure in place based on all of the available

   information that the Court has at this time. The Court has concluded that it is appropriate to

   proceed with the adoption of a structure for leadership, and to appoint counsel to those positions,

   notwithstanding the evolving contours of this litigation through additional cases being filed or

   transferred to the MDL, the collection of census registry data, and/or motion practice, to name just

   a few considerations. The Court recognizes that it may need to revisit or modify the structure of

   leadership and/or specific appointments as the litigation continues to develop.

          The organization of defense counsel, like Plaintiffs’ counsel, for pretrial proceedings is not

   intended to constitute any waiver of rights or privileges. Rather cooperation is an essential

   component of the orderly and expeditious resolution of this litigation. The communication of

   information among and between defense counsel (or defense counsel with the Special Master)

   shall not be deemed a waiver of the attorney-client privilege and/or the attorney work product

   doctrine, if the privilege or doctrine is otherwise applicable, and all of said persons shall maintain

   the confidentiality of said communications. This provision does not limit the rights of any party

   or counsel to assert the attorney-client privilege or attorney work product doctrine. Nor does this

   provision expand or create a protection or privilege that the party does not otherwise already enjoy.


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            a) Lead Counsel

            The Court appoints four (4) Co-Lead Counsel to represent the Defendants in this litigation.

   Co-Lead Counsel are vested by the Court with the authority and duty to coordinate and oversee

   the responsibilities of the Defense Steering Committee; to schedule meetings; to appear on behalf

   of Defendants at periodic court-noticed status conferences and hearings; to sign and file pleadings

   relating to all actions; and to bind the Defendants in scheduling depositions, setting agendas,

   entering into stipulations, and in all other necessary interactions with Plaintiffs’ counsel. These

   counsel shall also be responsible for reporting to the Court in response to inquiries on particular

   topics or procedures or convening meetings of counsel to the extent needed.

            Co-Lead Counsel are ultimately responsible for directing the completion of the following

   tasks:

      a.    Discovery: Initiating, coordinating, and conducting all pretrial discovery on behalf of the

            Defendants in the MDL proceedings and, to the extent possible, coordinating with any state

            court actions to avoid duplicative depositions or other inefficient discovery, to the extent

            MDL counsel believe it prudent to do so; developing and proposing to the Court schedules

            for the commencement, execution and completion of all discovery on behalf of all

            Defendants; causing to be issued in the name of all Defendants the necessary discovery

            requests, motions and subpoenas pertaining to any witnesses and documents required to

            prepare properly for exploration of relevant issues found in the pleadings of this litigation,

            as well as any additional discovery deemed prudent upon the request of non-appointed

            counsel; and conducting all discovery in a coordinated and consolidated manner on behalf,

            and for the benefit, of all Defendants.




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      b. Hearings & Meetings: Calling meetings of counsel for Defendants for any appropriate

           purpose, including coordinating responses to questions of parties or the Court; initiating

           proposals, suggestions, schedules, joint briefs and any other appropriate matters pertaining

           to pretrial proceedings; examining witnesses and introducing evidence at hearings on

           behalf of Defendants; and acting as a spokesperson for all Defendants at pretrial

           proceedings and in response to any inquiries by the Court, subject of course to the right of

           any Defendant’s counsel to present non-repetitive individual or different positions. In this

           regard, appointed counsel may submit and argue any verbal or written motions presented

           to the Court on behalf of the Defendants, as well as oppose when necessary any motions

           submitted by the Plaintiffs or other parties that involve matters within the sphere of the Co-

           Leads’ responsibilities.

      c. Work with Defense Leadership and other Defense Counsel: Assigning tasks to the Liaison

           Counsel, Steering Committee and Leadership Development Committee, and directing such

           work performed by the appointed counsel as well as any others assigned responsibility for

           these tasks; and providing mentoring and opportunities that further develop the skills and

           talents of appointed counsel.

      d.   Other Tasks: Performing any other tasks necessary and proper to accomplishing these

           responsibilities.

           Any pleading or other paper filed on behalf of all Defendants shall be signed by one of the

   Co-Lead Counsel.

           b) Liaison Counsel

           The liaison counsel are tasked with working with the Coordinating Counsel, as set forth in

   III.A., to create processes for ensuring that the Defendants they represent are kept apprised of


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   developments in the litigation on a timely basis. Liaison counsel shall be responsible for providing

   coordinated feedback to the Co-Lead Counsel or their designees as to any pending filings or other

   matters representing the composite comments of the Defendants they represent, in a timely and

   efficient fashion.

           c) Steering Committee

           Members of the Steering Committee shall consult with and operate under the direction of

   Co-Lead Counsel in the prosecution of any work within the scope of the Co-Lead Counsel’s

   authority, which the Co-Lead Counsel deem it prudent to delegate to the Steering Committee.

           d) Leadership Development Committee

           This Court is keenly aware of the concerns raised in recent years about the challenges faced

   by less experienced attorneys in obtaining leadership appointments in MDL proceedings. While

   this Order is not the time or place for an exhaustive discussion of this issue, suffice it to say that

   this Court is sensitive to these concerns, as well as the need to have more experienced MDL

   practitioners lead and populate steering committees to adequately represent the interests of parties

   in large, complex and costly MDL matters. The Court views these concerns as complimentary,

   rather than as mutually exclusive. In an attempt to balance the needs of this MDL, as set forth

   below, this Court hereby establishes a Defense Leadership Development Committee (LDC).

           The Court also directs that Special Master Dodge shall meet periodically with LDC

   members individually, to ensure that they are receiving appropriate opportunities for their ability

   and skills, including the opportunity to present before this Court. To the extent that any Order of

   this Court conflicts with the ability of the LDC to effectuate the Court’s intent in this regard — for

   example, limitations that may be imposed upon the number of presenters at hearings — Co-Lead




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   Counsel may request individual waiver of these restrictions, which the Special Master is hereby

   granted authority to approve in her discretion without the need for future Order of this Court.

   III.   DEFENSE LEADERSHIP APPOINTMENTS

          The Court makes the following appointments:

          A.      Lead Counsel

   Anand Agneshwar
   ARNOLD & PORTER KAYE SCHOLER LLP
   250 West 55th Street
   New York, NY 10019
   Telephone: (212) 836-8000
   Email: anand.agneshwar@arnoldporter.com

   Andrew T. Bayman
   KING & SPALDING LLP
   1180 Peachtree Street NE, Suite 1600
   Atlanta, GA 30309
   Telephone: (404) 572-4600
   Email: abayman@kslaw.com

   Mark S. Cheffo
   DECHERT LLP
   1095 Avenue of the Americas
   New York, NY 10036
   Telephone: (212) 698-3500
   Email: mark.cheffo@dechert.com

   Joseph G. Petrosinelli
   WILLIAMS & CONNOLLY LLP
   725 Twelfth Street NW
   Washington, DC 20005
   Telephone: (202) 434-5000
   Email: jpetrosinelli@wc.com

          Mr. Petrosinelli was previously designated by this Court as the liaison between the interim

   co-lead counsel and the interim liaison counsel for the generic and retailer Defendants, and the

   Court readopts that appointment. The Court believes it is important to have a single individual

   with the ultimate responsibility for creating processes which ensure that there is a structure in place


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   which keeps the non-brand Defendants apprised of developments in the case and affords an

   opportunity for input to the extent practicable, but which is ultimately efficient and timely. While

   the need for such coordination is already apparent, the Court anticipates that this role will become

   more important as the litigation advances, particularly if additional Defendants enter the litigation

   as is anticipated. This individual will be primarily responsible for ensuring that a coordinated

   process exists for how any particular work will be negotiated/prepared/completed given these

   considerations, conferring with the Co-Lead Counsel as to which individuals should be responsible

   for particular coordinated defense projects, and ensuring that the designated counsels’ process for

   completing the work is efficient with respect to both time and resources. The Court encourages

   the consideration of the creation of periodic meetings via Zoom or other platforms to ensure all

   counsel are updated on case developments, if the number of Defendants increases further, in

   addition to the traditional mechanisms. Such presentations may also afford an opportunity for

   Steering Committee or Leadership Development Committee counsel to present updates on

   particular issues or topics. For the sake of clarity, the Court now designates this position as

   “Coordinating Counsel” rather than “liaison to the liaisons”.

          B.      Generic & Retailer Defendants’ Liaison Counsel

          For the generic manufacturers:

   Richard M. Barnes
   GOODELL, DEVRIES, LEECH & DANN, LLP
   One South Street, 20th Floor
   Baltimore, Maryland 21202
   Telephone: (410) 783-4000
   Email: rmb@gdldlaw.com




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   Thomas J. Yoo
   HOLLAND & KNIGHT LLP
   400 South Hope Street, 8th Floor
   Los Angeles, CA 90071
   Telephone: (213) 896-2400
   Email: thomas.yoo@hklaw.com

          For the retailer Defendants

   Sarah E. Johnston
   BARNES & THORNBURG LLP
   2029 Century Park East, Suite 300
   Los Angeles, CA 90067
   Telephone: (310) 284-3798
   Email: sarah.johnston@btlaw.com

          C.     Steering Committee

   Daniel S. Pariser
   ARNOLD & PORTER KAYE SCHOLER LLP
   601 Massachusetts Avenue NW
   Washington, DC 20001
   Telephone: (202) 942-5000
   Email: daniel.pariser@arnoldporter.com

   Paige H. Sharpe
   ARNOLD & PORTER KAYE SCHOLER LLP
   601 Massachusetts Avenue NW
   Washington, DC 20001
   Telephone: (202) 942-5000
   Email: paige.sharpe@arnoldporter.com

   Judy L. Leone
   DECHERT LLP
   2929 Arch Street
   Philadelphia, PA 19104
   Telephone: (215) 994-4000
   Email: judy.leone@dechert.com

   Will W. Sachse
   DECHERT LLP
   2929 Arch Street
   Philadelphia, PA 19104
   Telephone: (215) 994-4000
   Email: will.sachse@dechert.com


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    Ilana H. Eisenstein
    DLA PIPER LLP
    1650 Market Street, Suite 5000
    Philadelphia, PA 91903
    Telephone: (215) 656-3300
    Email: ilana.eisenstein@dlapiper.com

    Matthew A. Holian
    DLA PIPER LLP
    33 Arch Street, 26th Floor
    Boston, MA 02110
    Telephone: (617) 406-6000
    Email: matt.holian@dlapiper.com

    Robert B. Friedman
    KING & SPALDING LLP
    1180 Peachtree Street NE, Suite 1600
    Atlanta, GA 30309
    Telephone: (404) 572-4600
    Email: rfriedman@kslaw.com

    Eva Canaan
    KING & SPALDING LLP
    1185 Avenue of the Americas, 34th Floor
    New York, NY 10036
    Telephone: (212) 556-2100
    Email: ecanaan@kslaw.com

    Michael B. Shortnacy
    KING & SPALDING LLP
    633 West Fifth Street, Suite 1600
    Los Angeles, CA 90071
    Telephone: (213) 443-4355
    Email: mshortnacy@kslaw.com

    Thomas J. Sheehan
    PHILLIPS LYTLE LLP
    One Canalside
    125 Main Street
    Buffalo, NY 14203
    Telephone: (716) 847-8400
    Email: tsheehan@phillipslytle.com




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    Patrick L. Oot
    SHOOK HARDY & BACON
    1800 K Street NW, Suite 1000
    Washington, DC 20006
    Telephone: (202) 783-8400
    Email: oot@shb.com

    M. Elaine Horn
    WILLIAMS & CONNOLLY LLP
    725 Twelfth Street NW
    Washington, DC 20005
    Telephone: (202) 434-5000
    Email: ehorn@wc.com

    Jessica B. Rydstrom
    WILLIAMS & CONNOLLY LLP
    725 Twelfth Street NW
    Washington, DC 20005
    Telephone: (202) 434-5000
    Email: jrydstrom@wc.com

          D.     Leadership Development Committee:

    Tommy Huynh
    ARNOLD & PORTER KAYE SCHOLER LLP
    Three Embarcadero Center, 10th Floor
    San Francisco, CA 94111
    Telephone: (415) 471-3100
    Email: tommy.huynh@arnoldporter.com

    Lindsey B. Cohan
    DECHERT LLP
    300 West 6th Street, Suite 2010
    Austin, TX 78701
    Telephone: (512) 394-3000
    Email; lindsey.cohan@dechert.com

    Caroline Power
    DECHERT LLP
    2929 Arch Street
    Philadelphia, PA 19104
    Telephone: (215) 994-4000
    Email: caroline.power@dechert.com




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    Jonathan S. Tam
    DECHERT LLP
    One Bush Street, Suite 1600
    San Francisco, CA 94104
    Telephone: (415) 262-4500
    Email: jonathan.tam@dechert.com

    Katherine W. Insogna
    DLA PIPER LLP
    33 Arch Street, 26th Floor
    Boston, MA 02110
    Telephone: (617) 406-6000
    Email: katie.insogna@dlapiper.com

    Leeanne S. Mancari
    DLA PIPER LLP
    2000 Avenue of the Stars
    Suite 400, North Tower
    Los Angeles, CA 90067
    Telephone: (310) 595-3000
    Email: leeanne.mancari@dlapiper.com

    Mark A. Sentenac
    KING & SPALDING LLP
    1180 Peachtree Street NE, Suite 1600
    Atlanta, GA 30309
    Telephone: (404) 572-4600
    Email: msentenac@kslaw.com

    Julia Zousmer
    KING & SPALDING LLP
    353 North Clark Street, 12th Floor
    Chicago, IL 60654
    Telephone: (312) 995-6333
    Email: jzousmer@kslaw.com

    Hope E. Daily
    WILLIAMS & CONNOLLY LLP
    725 Twelfth Street NW
    Washington, DC 20005
    Telephone: (202) 434-5000
    Email: hdaily@wc.com




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    Michelle L. Hood
    WILLIAMS & CONNOLLY LLP
    725 Twelfth Street NW
    Washington, DC 20005
    Telephone: (202) 434-5000
    Email: mhood@wc.com

    Annie E. Schowalter
    WILLIAMS & CONNOLLY LLP
    725 Twelfth Street NW
    Washington, DC 20005
    Telephone: (202) 434-5000
    Email: ashowalter@wc.com

            All of the foregoing appointments are personal in nature. That is, although the Court

    expects that appointees will draw on the resources of their firms, their co-counsel, and their co-

    counsel’s firms, each appointee is personally responsible for the duties and responsibilities that he

    or she assumes. However, if any counsel appointed to a leadership position leaves his or her firm

    during the course of this litigation, counsel must immediately notify the Court, at which time the

    Court may reassess counsel’s role in a leadership position. In addition, if any counsel appointed

    ceases to represent the party he/she presently represents, counsel must immediately notify the

    Court, at which time the Court may reassess counsel’s role in a leadership position.

            The Court will consider a process for periodically evaluating leadership appointees’

    performance and commitment to the tasks assigned, as well as the ongoing needs of the litigation.

            DONE and ORDERED in Chambers, West Palm Beach, Florida, this 22nd day of May,

    2020.



                                                          _______________________________
                                                          ROBIN L. ROSENBERG
                                                          UNITED STATES DISTRICT JUDGE




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